             Case 1:15-vv-01569-UNJ Document 17 Filed 06/17/16 Page 1 of 2




          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 15-1569V
                                       Filed: May 23, 2016
                                           Unpublished

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GLENDA IVY,                             *
                                        *
                    Petitioner,         *      Petitioner’s Motion for a Decision
                                        *      Dismissing Her Petition;
            v.                          *      Influenza (“Flu”) Vaccine;
                                        *      Guillain-Barré Syndrome (“GBS”);
SECRETARY OF HEALTH AND                 *      Vaccine Act Entitlement;
HUMAN SERVICES,                         *      Denial Without Hearing;
                                        *      Special Processing Unit (“SPU”)
                    Respondent.         *
                                        *
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Howard Gold, Gold Law Firm, LLC, Wellesley Hills, MA 02481, for petitioner.
Robert Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.

                                               DECISION 1

Dorsey, Chief Special Master:

       On December 23, 2015, Glenda Ivy (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.2 (the “Vaccine Act” or “Program”).3 Petitioner alleges that she
suffered Guillain-Barré Syndrome (“GBS”) caused-in-fact by the influenza vaccination
she received on December 27, 2012. Petition at 1.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).

3   The case was assigned to the Special Processing Unit (“SPU”) of the Office of Special Masters.
            Case 1:15-vv-01569-UNJ Document 17 Filed 06/17/16 Page 2 of 2




       The petition was filed without medical records shortly before expiration of the
Vaccine Act’s statute of limitations. See § 16(a)(2) (applicable statute of limitations).
During the subsequent six months, petitioner gathered and filed some of the medical
records relevant for her claim. See Exhibits 1, 3-5, filed May 19, 2016 (ECF No. 13).
By email communication on May 19, 2016, petitioner’s counsel informed the OSM staff
attorney managing this SPU case that some records still were outstanding.4 However,
counsel added that, after a review of the medical records obtained, petitioner did not
intend to proceed with her claim.

        On May 23, 2016, petitioner moved for a decision dismissing her petition,
acknowledging that insufficient evidence exists to demonstrate entitlement to
compensation. (ECF No. 15). Petitioner indicated in her motion that “[a]n investigation
of the facts and science supporting her case has demonstrated to petitioner that she will
be unable to prove that she is entitled to compensation in the Vaccine Program.” Id. at
¶ 2. Petitioner further indicated that she “has been advised that such a judgment will
end all of her rights in the Vaccine Program.” Id.

       To receive compensation under the Program, petitioner must prove either 1) that
she suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –
corresponding to a covered vaccine, or 2) that she suffered an injury that was actually
caused by a covered vaccine. See §§ 13(a)(1)(A) and 11(c)(1). Examination of the
record does not disclose any evidence that petitioner suffered a “Table Injury.” Further,
the record does not contain a medical expert’s opinion or any other persuasive evidence
indicating that petitioner’s alleged injury was vaccine-caused.

       Under the Vaccine Act, a petitioner may not be awarded compensation based on
the petitioner’s claims alone. Rather, the petition must be supported by either the
medical records or by a medical opinion. § 13(a)(1). In this case, the record does not
contain medical records or a medical opinion sufficient to demonstrate that the vaccinee
was injured by a vaccine. For these reasons, and in accordance with § 12(d)(3)(A),
petitioner’s claim for compensation is denied and this case is dismissed for
insufficient proof. The Clerk shall enter judgment accordingly.5

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master


4   Petitioner’s counsel included respondent’s counsel on the email correspondence.

5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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